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ROBERT EMERT

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FEDERAL DISTRICT COURT OF SOUTHERN Loner
CALIFORNIA

Addendum to Petition for Writ of Habeas
ROB EMERT Corpus under 28 U.S.C. §§ 2241 and 2254.

PETITIONER
23 CV 2318 JES VET

VS.

The People of CA RELATED CASES

San Diego Superior Court

SCD297230 - SAN DIEGO SUPERI
DEFENDANTS SU OR COURT

19FL010852N - SAN DIEGO FAMILY COURT
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Addendum to Petition for Writ of Habeas Corpus — 9"" Circuit - Probation constitutes “custody”
for Habeas relief and 9"" Circuit overturns many PC 278.5(a) when no “malice” was proven.

I, Robert Emert, submit this addendum to supplement my pending habeas petition challenging
my conviction under California Penal Code §278.5(a).

Although my GPS monitoring has been removed as of 12/28/23, I remain on a restrictive 3-year
probation term for a crime I am factually innocent of. This probation severely limits my
freedoms and abilities to find employment and housing, causing ongoing harm akin to custody.
Courts have recognized probation constitutes adequate "custody" for habeas relief when
restrictions are severe. (See United States v. Spawr Optical Research, Inc., 864 F.2d 1467, 1470
(9th Cir. 1988); United States v. Condit, 621 F.2d 1096 (10th Cir. 1980); Barry v. Bergen County
Probation Dept., 128 F.3d 152, 160 (3d Cir. 1997); Evans v. Maryland, 914 F, Supp. 2d 729 (D.
Md. 2012)) The unjust felony conviction creates substantial barriers to employment, housing,
and other opportunities that I continue to endure despite my innocence. The 3-year probation
hinders my ability to travel freely, associate with certain individuals, and exercise basic liberties.
Most harmfully, the wrongful conviction indefinitely separates me from my children against
their will. The compounding harm inflicted on me, and my family underscores the urgent need
for habeas relief before this miscarriage of justice becomes permanent.

Additionally, the 9th Circuit has repeatedly overturned §278.5(a) convictions where, as here, no
malicious intent was proven by the state. (See United States v. Fellela, No. 19-50191, 2020 WL
1323172 (9th Cir. Mar. 20, 2020); United States v. Klein, 522 F. App’x 513 (9th Cir. 2013);
United States v. Amer, 110 F.3d 873 (2d Cir. 1997); United States v. Miller, 588 F.3d 1311 (11th
Cir, 2009)). These cases establish that absence of malicious intent invalidates a §278.5(a)
conviction as a matter of law.

My circumstances are analogous to these overturned cases. I have extensive recorded calls,
emails, and testimony proving I acted solely to protect my son from harm at his pleading, not to
maliciously deprive custody rights. My then 15-year-old son, Bryce, simply refused to talk to his
mother because of how she was treating him during a divorce. Andrea Schuck is Bryce’s mom
and my x wife. Although the divorce was bitter, I maintained a 50/50 custody arrangement with
the children going back and forth between our homes for their emotional well-being. Extensive
documentation for this. I even invited Ms. Schuck on summer break vacations in an effort to
show our children we were putting them first. Extensive documentation for this includes emails
and recorded calls between me and Ms. Schuck. Ms. Schuck makes the claim that my
“malicious intent” was/is satisfied by me not forcing our then 15-year-old son to talk to her.
Ironically, Ms. Schuck also indicates that our now 14-year-old daughter does not have to talk to
me if she does not want to and Ms. Schuck maintains that this dual standard is not hypocritical.
Again, I never had any “malice” and there is extensive evidence to prove this that the trial court,
appellate court and DA are going out of their way to ignore. Even when I was granted 60%
custody of our children, I told Ms. Schuck not to worry about it as I believed our children should
be able to come and go between our homes on a as needed basis for their emotional well-being. I
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did this for our daughter, but Ms. Schuck REFUSED to do this for our son and why our divorce
has dragged on for over four years.

The District Attorney did not prosecute for over a year, where DAI Luis Pena explicitly
confirmed they had no case, and I would likely win at a trial. Only through an illegal 90-day
pretrial detention based on out-of-context statement was I coerced into a guilty plea. Even worse,
the plea deal involved my son coming home to which now, my x wife, DDA Balerio and my past
attorney indicate this was never part of the plea deal. But, the evidence proves otherwise, and
the trial court and the appellate court are refusing to look at it.

Given the clear parallels to 9th Circuit precedent overturning §278.5(a) convictions where malice
was unproven, my probation meets the threshold for custody, and my overwhelming evidence
establishes my factual innocence, I respectfully request this Court grant my petition and vacate
my wrongful conviction. Justice demands I be given a fair opportunity to have my claims heard
and my evidence reviewed.

In conclusion, the clear parallels between my case and 9th Circuit precedents overturning
analogous §278.5(a) convictions showcase why my conviction cannot stand. Key decisions like
United States v. Fellela (2020 U.S. App. LEXIS 3277) and United States v. Klein (2013 U.S.
App. LEXIS 26290) definitively establish that §278.5(a) convictions must be vacated when
malice is not proven. Here, the most compelling evidence—a recorded call where the DA
investigator explicitly states I would likely win at trial—proves the state knew I acted without
malice but prosecuted anyway through unlawful pretrial detention.

The alleged "threat" used to detain me was clearly taken out of context, related to protected
speech, and does not meet California’s legal standard for a criminally prosecutable threat.
Furthermore, both state and federal courts have improperly denied my requests for an evidentiary
hearing which would have fully exonerated me. My ongoing 3-year probation severely limits my
freedoms and abilities, meeting the custody threshold under Ninth Circuit precedent.

This unjust conviction continues to cause me substantial harm and stigma despite my factual
innocence. In light of the overwhelming evidence showing I acted without malice or criminal
intent, I respectfully request this Court vacate my conviction, grant an evidentiary hearing, and
restore justice. The parallels to precedent warrant overturning my conviction where malice was
never proven. I cannot justly remain convicted for protecting my son simply because the truth
has been suppressed. An evidentiary hearing is the bare minimum required given the clear
constitutional violations.
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VERIFICATION

IT IS HEREBY certified that the facts in the foregoing is true and correct under penalty of

perjury to the best of my knowledge and belief. Attachments to this are true and correct copies of
the items they purport to be.

Dated 12/29/23
By: feo Cmaut

Robert Emert

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ELECTRONIC SERVICE

I, Glenda Emert, certify that on 12/29/23, I served the foregoing Habeas Corpus document

electronically by email to the following: sdag.docketing@doj.ca.gov; da.appellate@sdcda.org;

sandiegodaprop65 @sdcda.org and uploaded directly to the California Attorney General

I declare under penalty of perjury under the laws of the State of California that the foregoing is true

and correct

plenchr Cnert
ted: 12/29/23

Glenda Emert
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VERIFICATION DEC 2 9 2023

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Dated 12/21/23
By: 0b Churt

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Glenda Emert
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